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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION

IRMA GARZA §

§
Plaintiff §

§
VS § CIVIL ACTION NO. 7:18-CV-267

§
THE CITY OF EDINURG, TEXAS, §
RICHARD MOLINA, DAVID TORRES, §
JORGE SALINAS and GILBERT §
ENRIQUEZ §

ORDER DENYING MOTION TO STRIKE STATEMENT OF CHANGES TO
DEPOSITION OF ROBYN ZAYAS

Upon consideration of the Motion to Strike Statement of Changes to Deposition of Robyn
Zayas, the Court Hereby ORDERS that the Motion be DENIED.

SO ORDERED this day of , 201 , at McAllen, Texas.

 

United States District Judge

 
